981 F.2d 1251
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Melvin Eugene MCCRAY, Plaintiff-Appellant,v.ARLINGTON COUNTY DETENTION CENTER MEDICAL DEPARTMENT;  Mr.Morris, Dentist, Defendants-Appellees.
    No. 92-6970.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  November 30, 1992Decided:  December 18, 1992
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  Claude M. Hilton, District Judge.
      Melvin Eugene McCray, Appellant Pro Se.
      E.D.Va.
      AFFIRMED.
      Before WILKINS and NIEMEYER, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Melvin Eugene McCray filed suit under 42 U.S.C.s 1983 (1988) and sought leave to proceed in forma pauperis.  The district court assessed a filing fee in accordance with  Evans v. Croom, 650 F.2d 521 (4th Cir. 1981), cert. denied, 454 U.S. 1153 (1982), and dismissed the case without prejudice when Plaintiff failed to comply with the fee order.  Plaintiff appeals.  Finding no abuse of discretion, we affirm the district court's order.  McCray v. Arlington County Detention Center Medical Department, No. CA-92-126 (E.D. Va.  Aug. 26, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    